UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA 2021 APR 19 FP 3 UU

'SNC-EDPA
USA,
Plaintiff CASE NO. 2:21-cr-00170
V.
MOSHE PORAT,
Defendant
JEFFREY CUTLER

. JURY TRIAL REQUESTED
Intervenor Defendant

em

MOTION TO INTERVENE, AND INJUNCTIVE RELIEF
BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction,
alteration, or falsification of records), 18 U.S. Code § 872 -
EXTORTION BY OFFICERS OR EMPLOYEES OF THE
_ UNITED STATES, 18 U.S.C. § 3 ACCESSORY AFTER THE FACT
MURDER,BANKRUPTCY FRAUD, 15 U.S.C. §§ 78dd-1, & MAIL
FRAUD AND TO COMBINE CASES FOR JUDICIAL

EFFICIENCY AND SUMMARY JUDGEMENT

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Here comes Jeffrey Cutler, Defendant-Intervenor in this case based on the United
States Constitution Ammend 1, for Redress of Grievances and preservation of the
Establishment Clause, Mr. Cutler files THIS MOTION TO INTERVENE, AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records), 18 U.S. Code § 872 -
EXTORTION BY OFFICERS OR EMPLOYEES OF THE UNITED STATES,
18 U.S.C. § 3 ACCESSORY AFTER THE FACT MURDER, BANKRUPTCY
FRAUD, 15 U.S.C. §§ 78dd-1, & MAIL FRAUD AND TO COMBINE CASES
FOR JUDICIAL EFFICIENCY AND SUMMARY JUDGEMENT, to correct for
new crimes and OBSTRUCTION of JUSTICE recently discovered. On |
14APR2021 Jeffrey Cutler filed a 136 page MOTION TO INTERVENE, AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records), 18 U.S. Code § 872 -
EXTORTION BY OFFICERS OR EMPLOYEES OF THE UNITED STATES,
18 U.S.C. § 3 ACCESSORY AFTER THE FACT MURDER, BANKRUPTCY
FRAUD, 15 U.S.C. §§ 78dd-1, & MAIL FRAUD AND TO COMBINE CASES
FOR JUDICIAL EFFICIENCY AND SUMMARY JUDGEMENT in case 2:21-
cv-00190 in person. On 16APR2021 Mr. Cutler recieved an email from the office of
George Bochetto with a response to his motion of 14APR2021. He could not open
the document. He called the office and got an answering machine. He was not able

to get the document from PACER until 17APR2021 at about 5:50 PM. He also found

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Mr. Cutler’s motion was DENIED as MOOT with no chance for Mr. Cutler to
respond, since he is not on the CM/ECF system. On 17MAR2021 time stamped
1:26 PM Mr. Cutler filed a347 Page PETITION FOR ENBANC HEARING
BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records), 15 U.S.C. §§ 78dd-1,MAIL FRAUD EQUAL
PROTECTION AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY AFFIRMATION in case 20-1805 USCA third circuit. Instead of
granting a hearing the CLERK’s OFFICE of the USCA issued an ORDER that
granted Mr. Cutler, the ability to PAY $ 505.00 without resinding the order
-dismissing case 20-1805 (ECF 52). After calling about the fee being paid they wrote
a letter returning the money order on 19APR2020. In this case which is an appeal,
U.S. NEWS AND WORLD REPORTS is a defendant of PAID SLANDER against
Mr. Cutler by Persons unknown or China. They paid for targetted defamation and
false story against Mr. Cutler to conceal the MURDER of 2 BLACK AUSAs,
MAIL FRAUD, and other crimes. To garner a hearing before an ENBANC
COURT, Mr. Cutler filed a 356 page EMERGENCY EXPEDITED PETITION
-FOR ENBANC HEARING BECAUSE OF CRIMES (18 U.S. Code § 1519-
Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-1, MAIL
FRAUD EQUAL PROTECTION AND TO COMBINE CASES FOR JUDICIAL
EFFICIENCY AND SUMMARY AFFIRMATION in case 19-1842 USCA third

circuit, time stamped 06APR2021 at 2:46 PM (first 67 pages were attached)

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Someone from the clerk’s office acknowledged they got the document at 4:10 PM
06APR2021. Mr. Cutler emailed the PDF of the stamped copy to all parties in the
case as well as over 400 individuals. In the document 5 case #2:21-cv-01609 the
document has TIME STAMPED evidence of a MAIL FRAUD COMPLAINT against
Jim Kenney and Josh Shapiro. It also has evidence that Josh Shapiro falsified the
certification of the election and TRUMP won. On page 128 is TIME STAMPED
PROOF JOSH SHAPIRO NEW HE LIED ABOUT THE ELECTION
RESULTS, On page 132 IS PROOF THAT CHINA KNOWS THEY ARE
ACCUSED OF BIO-WARFARE AGAINST THE WORLD KILLING 3
MILLION PEOPLE, AND COMMITTED MAIL FRAUD TO HIDE
EVIDENCE, On page 133 is TIME STAMPED PROOF THE ELECTION
RESULTS WERE ALTERED TO ALLOW CHEATING (AN ORDER FROM
TORRES FROM 12APR2018), On page 134 IS ALETTER FROM NANCY
PELOSI IN COLLUSION TO WITH TED WHEELER OF PORTLAND
PROMOTING VIOLENCE, On page 136 IS A TIME STAMPED MAIL FRAUD
COMPLAINT FROM AGAINST JIM KENNEY VERIFIED 10MAR2020. On
11MAR2021 JEFFREY CUTLER FILED A MAIL FRAUD COMPLAINT
AGAINST THE PEOPLES REPUBLIC OF CHINA FOR CLAIMING THEY
REFUSED A 321 PAGE MOTION TO INTERVENE, AND INJUNCTIVE RELIEF
BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or

falsification of records), 15 U.S.C. §§ 78dd-1 & MAIL FRAUD AND TO

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COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT in case #1:20-cv-00099 in the UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MISSOURI received on or near 16FEB2021 at
their embassy in Washington, DC (tracking 9505 5141 4909 1042 6153 86) at their
DC Embassy (3505 International Place, NW) and after opening the document one
week later (24FEB2021) claimed the document was REFUSED in a conspiracy with
the POST OFFICE to CHEAT the UNITED STATES GOVERNMENT of
RETURN POSTAGE and follow the LAWS of the UNITED STATES OF
AMERICA. This effectively PUTS the PEOPLES REPUBLIC OF CHINA in
DEFAULT for violating the LAWS of the UNITED STATES and shows they have
been properly served and the return of the document equates to a Waiver of Service.
Inside the document was a 193 page report that COVID-19 is LAB DERIVED and
JEFFREY CUTLER was claiming CHINA has engaged in Bio-Warfare with the
WORLD based on a previous actions with HEPARIN and pet food and that the
testing supplies are tainted and may be spreading the disease in the United States.
The media and paltiteal leaders have been BRIBED to go along with MASKS and
distance are the ONLY cure when PREUMOVAX23 and Prevnar13 which are the
PRIME COMPLICATION TO THE COVID-19 and FLU that result in DEATH from
pneumococcal disease and Ivermectin to treat the COVID-19 <ref>

httos://www.covid! 9ireatmentquidelines.nih.gov/antiviral-therapy/ivermectin/ </ref> Watch

httos://www.youtube.com/watch@v=mgqClesF_zuUk for more information and read comments

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sorted newest first. Also see <ref> https://www.americanfreedomlawcenter.org/case/jeffrey-cutler-

y-u-s-dept-of-health-human-services/ </ref> and <ref> httos://www.brennancenter.orq/legal-

 

work/corman-v-torres </ref> <ref> https://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.pdf
</ref><ref> httos://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI et al </ref> As
an Official Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler
declares the actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a
concerted effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a
Pro Se candidate against Tom Wolf and had an advertisement in the METRO paper
on 240CT2018 page 15 :titled “SAVE BILL COSBY”. On 03JAN2019 [[Nancy
Pelosi]] made a false statement in court via her lawyer (Mr Donald B. Verilli Jr.) and
stated “[N]o one would be hurt and the greater justice would be attained” and violated
(18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in case 4:18-
cv-00167-0, a significant federal crime. On 26FEB2019 Jeffrey Cutler filed a lawsuit
in FEDERAL COURT 5:19-ev-00834 in [[Philadelphia]] against [[Nancy Pelosi]]|
called (CUTLER v. PELOSL et al.). This is 26 YEARS AFTER THE FIRST
WORLD TRADE CENTER BOMBING. This documents that service of the
complaint has been SERVED on the PEOPLES REPUBLIC OF CHINA at their
EMBASSY TO THE AMBASSADOR. Mr. Cutler had also published information
that the MURDER of two BLACK AUSAs Jonathan Luna <ref>
https://en.wikipedia.org/wiki/Jonathan_Luna </ref> (Found 04DEC2003) and Beranton

Whisenant <ref> hitos://en.wikipedia.org/wiki/Beranton_Whisenant </ref> (Found

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25MAY2017) were also MURDERED by possibly members of the KIKK. Mr.
Whisenant was found on the same day George Floyd was declared Murdered in
2017. Despite calls to the clerk of the United States Court of Appeals, the clerks
Time Stamped Petition for Enbanc Hearing case 20-1805 is still not on the docket.
To get the time stamped document for case 20-1805 on the docket Mr. Cutler filed a
copy of the Petition in case in Eastern District Court case #2:21-cv-01290, and get
redress of grievances in person at the same courthouse in Philadelphia on
23MAR2021 with a 341 page motion to Intervene. On 24MAR2021 judge Kenney
denied the motion to intervene ECF 4 and stated the document was
incomprehensible and has no bearing or relavance to the above captioned action,
even though the motion was unopposed. A mail fraud complaint has been filed
against judge Chad Kenney. Also on 13JAN2021 at 4:10 PM on that date Mr. Cutler
filed a 321 page document for case 20-1422 which contained EXCULPATORY
EVIDENCE OF DOCUMENTED ELECTORAL FRAUD (page 62, 67 and 320
& first 69 pages in addendum) a CONSPIRACY to ENGAGE in CRIMINAL
ACTIVITY. This document is still not present on the docket, a federal crime. It is
believed this is has been based on BRIBES and COLUSION with funds from
CHINA to hide an international effort to engage in [[Biological warfare]] with a
primary target being the United States, and DESTROY the value of the UNITED
STATES DOLLAR. DR. FAUCCI, KRISTEN WELKER and Persons of the

CDC have LIED about an Approved Vaccine to Stop COMPLICATIONS from the

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FLU & COVID-19 <ref> htps:/vww.futuremedicine.com/doi/10.2217/fea-2020-0082 </ref>. They are
called PREUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 that result in DEATH from pneumococcal disease <ref>
hitps:/Avww.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots </ref>, KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. THE
TESTING KITS ARE TAINTED AND HELPING TO INFECT PEOPLE AROUND
THE WORLD <ref> hitps://www.govinfo.gov/content/pka/CHRG-1 1 0hhrg53183/html/CHRG-
LlOhhrg53183.htm </ref><ref> https://www.nytimes.com/2008/03/06/health/Oéheparin.htm!
</ref><ref> https://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.html </ref><ref>
https://en.wikipedia.org/wiki/2007_pet food recalls </ref> <ref>
https://www.latimes.com/business/story/2019-09-18/carcinogen-scare-tainted-zantac </ref> COVID-19
is Biological warfare <ref>nttps://en.wikipedia.org/wiki/Biological warfare </ref> NOTE
CHINA GONE FROM LISTS AND PROGRAMMED TO BE EXCLUDED

JUST LIKE VOTES FOR TRUMP. It is believed that the testing components may

 

be tainted and is the real reason that so much propoanda has been placed on testing
when vacinations for to stop these deaths is cheaper and readily available. A
previous document in case 21-40001 was altered by persons unknown to protect the
CRIMES of the FBI/CIA and KLU KLUX KLAN, the PROUD BOYS is just
another name for the KKK. It also shows BIAS and MALICIOUS intent to violate

EQUAL TREATMENT under the law, a violation of the United States Constitution

 

Ammend 5, Jeffrey Cutler has STANDING and it was granted by the USCA in DC

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on 14AUG2015 for case 14-5183 , and ORDER does not EXPIRE. Mr. Cutler was
granted the RIGHT to protect the ESTABLISHMENT CLAUSE by the court and
has been trying to pursue his first ammendment right to PETTION THE COURT
FOR REDRESS OF GRIEVANCES. Recently in case # 1:17-cv-05228 Judge
Nicholas G. Garaufis (Eastern District of New York) SIMPLY STATED MR.
CUTLER IS NOT PART OF THE CASE AND VIOLATED EQUAL
PROTECTION UNDER THE LAW AND HAD THE DOCUMENT RETURNED
WITH NO RECORD ON THE DOCKET EVEN THOUGH JOSH SHAPIRO (a
Sonderkommando, elector for Joe Biden and the current Attorney General of
Pennsylvania) IS ON THE DOCKET. Mr. Cutler is being denied MEDICARE part
B coverage while the order in this case grants that coverage immediately to NON-
CITIZENS even though when DACA was set up the president OBAMA publically
stated the program was ILLEGAL. These persons are being GRANTED EXTRA
RIGHTS. Mr. Cutler a natural born citizen presently 66 years old and second
generation American and JEWISH, eligable to be President or Speaker of the
House. In case 20-2936 ECF 29 page 169 Mr. Cutler filed a copy of the order from
Mr. Torres dated 12APR2018 that all voting methods must have a HARD COPY
RECORD AVAILABLE filed 200CT2020, as part of funding from the FEDERAL
GOVERNMENT!! The laws were altered in Pennsylvania to provide DROP
BOXES that failed to have this provision. Mr. Cutler had stated these ballots

violated the states OWN order, and a judge should decide their they are ILLEGAL,

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just like the term that may presently describe the sick bird Philadelphia football team
ILL EAGLE. The Citizens of the State of New York and may have been violated
by equal protection 03JAN2021 based on possible bribes or collusion to LOOSE the
football game due to substitution of the Quarterback, so the GIANTS were not able to
be in the playoffs, the coach has since been terminated. On 13JAN2021 at 4:10 PM,
a 321 Page AMMENDED & CORRECTED EMERGENCY EXPEDITED
PETITION FOR HEARING ENBANC AND INJUNCTIVE RELIEF
BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) & MAIL FRAUD AND TO COMBINE CASES FOR
JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in Philadelphia
USCA case 20-1422, which was prior to the vote of the SNAP IMPEACHMENT
with NO abilility of the president to present any witnesses or other

EXCULPATARY evidence This was equivalent of a HIGH TECH LYNCHING
(to quote Clarence Thomas) just like Mr. Cutler was subjected. The comments of the
president were selectively EDITED to remove the word peaceful, and the concept
this speech incited the riot is contradicticted by reports that the FBI knew about
activities for over a month (the document is contained in the Addemdum). This
impeachment as fair was as true and correct as the attack on 11SEP2012 when
[[Susan Rice]] stated “But our current best assessment, based on the information that
we have at present, is that, in fact, what this began as, it was a spontaneous -- not a

premeditated -- response to what had transpired in Cairo. In Cairo, as you know, a

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few hours earlier, there was a violent protest that was undertaken in reaction to this
very offensive video that was disseminated.” Jeffrey Cutler found ont that 5,000
Jews from the Rovno ghetto were shot in the forest near the city of Rovno Ukraine on
13JUL1942, the same day his uncle IRV CUTLER was shot down in a B24 over
Benghazi Libya. During this period was the battle at El Alamein stopping NAZI
advance towards Cairo and the Suez Canal. Anthony Algindy <ref>
httos://en.wikipedia.org/wiki/Anthony Elgindy </ref> working with a corrupt FBI agent Jeffrey
Broyer may have had prior information of the attacks on 911. They both may be part
of the <ref> https://en.wikipedia.org/wiki/United States Federal Witness Protection Program </ref>.
The apparatus involving the FBI and CIA may have started when they tareted

Fawaz Younis and operation GOLDENROD was started and he was captured for
the 1985 Hijacking of an aircraft from Beirut with 4 americans aboard, but has been
corrupted. On 12JAN2021 Jeffrey Cutler filed a MAIL FRAUD complaint against
AMAZON and Jeffrey Bezos and on 11JAN2021 filed a MAIL FRAUD complaint
against TWITTER and Jack Dorsey. The MAIL FRAUD complaints are based on
being a INVESTOR in both companies and the ANNUAL REPORTS OF BOTH
COMPANIES that are MAILED to Mr. Cutler and other investors and statements
in those reports.

THERE IS TIME STAMPED PROOF OF ELECTORAL FRAUD IN
PENNSYLVANIA, ORIGINALLY FILED IN FEDERAL COURT 200CT2020

PAGE 169 OF CASE 20-2936 PAGE 9 OF THE LINK BELOW ORIGINALLY

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FILED IN FEDERAL COURT 200CT2020 PAGE 169 OF USCA CASE 20-2936,
PAGE 320 OF CASE 20-1422 FILED 13JAN2021 AT 4:10 PM (BEFORE THE
IMPEACHMENT VOTE) AND PAGE 384 OF DOCUMENT FILED IN FIFTH
CIRCUIT 21-40001<ref>
https://www.courtlistener.com/recap/gov.uscourts.pamd,127057/gov.uscourts.pamd.127057.181.0.pdf </ref> THE DROP
BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY RECEIPT
AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO THE
CONTRARY. ASHLI BABBITT WAS ACTING AS A CITIZEN JOURNALIST
AND SHE HEARD THE CONSPIRACY WITH KKK/ANTIFA AND THE
POLICE, THAT IS WHY SHE WAS MURDERED. PER USCA CASE 17-1770
JOE BIDEN WAS PART OF A GROUP HELPING TO SMUGGLE STOLEN
NAZI ART INTO THE UNITED STATES AND BILL COSBY FOUND OUT. The
Proud Boys (Philadelphia leader Zach Rehl) had his first court appearance Friday the
19MAR2021. On 13JAN2021 JOSH SHAPIRO is named in part of a Petition [[En
banc]] in the USCA in [[Philadelphia]] on Page 62 is a letter from [[Nancy Pelosi]] to
[[Ted Wheeler]] dated 27AUG2020 SUPPORTING VIOLENCE IN [[Portland,
Oregon]], On Page 67 is EVIDENCE OF COMPLAINT of [[Electoral fraud]] made
to Office of Attorney General Josh Shapiro 24DEC2020 at 7:50 AM. On Page 68 is a
letter of a Private Criminal Complaint About Perjury and Obstruction of Justice made
to Office of Attorney General Josh Shapiro dated 20JUN2017, that concerns the

MURDER of [[Jonathan Luna]] by the [[Ku Klux Klan]]. Also see [[Publican and the

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Pharisee]] and [[Parable of the Unjust Judge]]. Watch
https://www.youtube.com/watch@v=mgCle8F_zUk for more information and read comments
sorted newest first. Also see <ref> https://www.americanfreedomlawcenter.org/case /jeffrey-cutler-
v-u-s-dept-of-health-human-services/ </ref> and <ref> https://www.brennancenter.org/legal-
work/corman-v-torres </ref><ref> https://redistricting. lls.edu/files/PA%20corman%2020 180724%20brief,pdf
</ref><ref> https://www.pacermonitor.com/public/case/27231978/CUTLER v PELOS! et al </ref> As
an Official Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler
declares the actions Mr. ierasnen, the Mayor of Philadelphia, and the Governor were a
concerted effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a
Pro Se candidate against Tom Wolf and had an advertisement in the METRO paper
on 240CT2018 page 15 :titled “SAVE BILL COSBY”

On 22JUN2020 a PETITION FOR IMMEDIATE INJUNCTION PENDING

APPEAL was finally put online in case 20-1449 even though it was actually filed on
20MAY 2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA
v. JOESEPH JOHNSON. The office of the president responded to this by
21IMAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020
demanding all places of worship be allowed to open. Employees of the federal
government and others have been involved in a criminal conspiracy to OBSTRUCT
JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn
obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov

</ref> Mr. Cutler had sent a 330 page document on 17JUL2020 but that document

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vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tracking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them alla party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCEand MAIL FRAUD. On 30SEP2020 at 12:42 PM (RESTAMPED
050CT2020) Jeffrey Cutler filled a 571 Page PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE
OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND
SUMMARY AFFIRMATION USCA CASE 20-2936. On 15SOCT2020 at 12:42 PM
Jeffrey Cutler filled a 194 Page AMENDED PETITION TO COMBINE CASES
FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE
OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND
SUMMARY AFFIRMATION USCA CASE 20-2936. For USCA CASE 20-2936
On 280CT2020 at 1:38 PM Jeffrey Cutler filled a PETITION FOR ENBANC
REVIEW of PETITION TO COMBINE CASES FOR JUDICIAL EFFICIENCY
BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL
FRAUD, AND OTHER CRIMES), AND SUMMARY AFFIRMATION AND
PEREMTORY DISQUALIFICATION OF ALL JUDGES OF THE THIRD
CIRCUIT AND MOVE TO FIFTH CIRCUIT. On 12NOV2020 at 3:56 PM Jeffrey

Cutler filled a PETITION TO COMBINE ADDITIONAL CASES BEFORE

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ENBANC REVIEW BECAUSE OF ADDITIONAL CRIMES (18 U.S. Code § 1519
- Destruction, alteration, or falsification of records) FOR JU DICIAL EFFICIENCY
in USCA case 20-2936

On 23NOV2020 AT Jeffrey Cutler filed al199 page PETITION FOR INJUNCTIVE
RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) AND TO COMBINE CASES FOR JUDICIAL
EFFICIENCY AND SUMMARY AFFIRMATION IN CASE 20-3371 IN PERSON
IN PHILADELPHIA AT 3:45 PM. THIS IS the appeal of DONALD J. TRUMP FOR
PRESIDENT INC., et al. v. KATHY BOOCKVAR, et al. case 4:20-cv-02078. Mr.
Cutler filed a 322 MOTION TO DECLARE DONALD J. TRUMP, INC.
VICTORIOUS FOR INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.C. §
1519 — Destruction, alteration, or falsification of records, MAIL FRAUD, AND
OTHER CRIMES), COMBINE CASES FOR JUDICIAL EFFICIENCY AND
SUMMARY JUDGEMENT and it is time stamped 19NOV2020 case case number
4:20-cv-02078. Even though it is on 322 page document it was put on the DOCKET

as ECF 180 and ECF 181. Both of these documents are available via the internet at

<ref> hitps://Avww.courtlistener.com/recap/gov.uscourts.9amd.127057/gov.uscourts,pamd.127057.180.0.odt </ref>

<ref> https://www.courtlistener.com/recap/gov.uscourts.pamd. 127057/gov.uscourts.pamd.127057.181.0.paf </ref>

Mr. Cutler has written in the document that COVID-19 is BIO-WARFARE FROM
CHINA AIDED BY BRIBES AND CORRUPTION AROUND THE WORLD, and

he got a 193 page report from Steven Carl Quay, MD, PHD (Steven@DrQuay.com)

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A COPY WAS EMAILED TO OVER 200 PERSONS AND NEWS
ORGANIZATIONS, INCLUDING RUDY and SYDNEY POWELL. Other

organizations had stated COVID-19 is Bio Warfare.

<ref> https://iournal-neo.ora/2020/04/15/did-america-just-confess-to-a-covid-19-bio-war/ </ref>

<ref> https://www.rightwingwatch.org/post/covid-19-is-chinese-bio-warfare-says-trump-allied-megachurch-pastor-jack-
hibbs/ </ref>

<ref> https://www.siasat.com/covid-19-biowarfare-says-bioweapon-creator-dr-francis-boyle-1866058/ </ref>
<ref> https://www.cnn.com/2020/04/08/politics/biological-warfare-laws-covid-19/index.html </ref>

<ref> httos://www.biologicalweapons.news/2020-02-19-covid-1 9-coronavirus-found-to-contain-gain-of-function-for-
efficient-spreading-human-population.htm! </ref>

<ref> https://www.washingtontimes.com/news/2020/jan/26/coronavirus-link-to-china-biowarfare-program-possi/ </ref>
<ref> https://www.city-journal.org/html/when-germ-warfare-happened-13282.html </ref>

<ref> https://www.dallasnews.com/news/public-health/2020/03/18/dallas-federal-lawsuit-accuses-chinese-government-of-
creating-coronavirus-as-biological-weapon/ </ ref>

BASED ON MR. CUTLER'S VALIDATION EXPERIENCE HE THINKS THAT
THE TESTING COMPONENTS MAY BE TAINTED and actually causing increase
in COVID-19. This is based on PREVIOUS actions by CHINA.
<ref>https://www.dovinfo.gov/content/pkg/CHRG-1 10hhra53183/html/CHRG- 110hhrg53183.him </ref>
<ref> https://www.nytimes.com/2008/03/06/health/Osheparin.himi</ref>

<ref>httos://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.himi</ref>

 

<ref>nhitps://en.wikipedia.org/wiki/2007_pet food recalls </ref>
18 U.S. Code § 1519 - Destruction, alteration, or falsification of records involving
ECF 33 filed 2830CT2020. Mr. Cutler believes the same technique used in the VW

EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same

programmers <ref>

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httos://www.nytimes.com/interactive/2015/business/international/vw-diesel-emissions-scandal-

explained.html</ref> <ref>nhitps://www.ydr.com/story/news/politics/elections/2019/11/06/how-pa-fix-
paper-ballot-voting-problems-before-2020-presidentiat-election/2507101001/</ref> PER USCA CASE
17-1770 JOE BIDEN IS INVOLVED IN DEALING IN STOLEN NAZI ART
FROM WWII. THE 199 PAGE DOCUMENT FILED 23NOV2020 AT 3:45 PM
VANISHED IN FEDERAL COURT!!

On 31DEC2020 Jeffrey Cutler at 11:11 AM he filed a 383 PAGE MOTION FOR
SUBSTITUTION OF JUDGE AND MOTION FOR RECONSIDERATION AND
INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code § 1519 -
Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT in the UNITED STATES DISTRICT COURT OF THE EASTERN
DISTRICT OF NEW YORK CASE #1:17-cv-05228 (STATE OF NEW YORK v.
DONALD J. TRUMP) AS AN INTERVENOR DEFENDANT.On page 46&47 of
USCA case 20-2936 filed 12NOV2020 (55 & 56 of ECF 181 case 4:20-cv-02078) is
documented evidence of (18 U.S. Code § 1519 - Destruction, alteration, or
falsification of records) involving ECF 33 filed 2830CT2020. Mr. Cutler believes the
same technique used in the VW EMISSIONS SCANDAL WAS USED TO ALTER
VOTES and possibly by the same programmers <ref>
https://www.nytimes.com/interactive/2015/business/international/vw-diesel-emissions-scandal-explained.htmt</ref>

<ref>nhttps://www.ydr.com/story/news/politics/elections/20 19/1 1/06/how-pa-fix-paper-ballot-voting-problems-before-2020-

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ptesidential-election/2507101001/</ref> PER USCA CASE 17-1770 JOE BIDEN IS
INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWIL. Mr. Cutler
previously had filed copies of documents from case 19-11466 (Bankruptcy of
PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN HOSPITAL
), in ECF 66 case 5:19-cv-00834 filed 14AUG2020 ( documents vanished, see pages
23, 53 & 60). Mr. Cutler had desired to keep the hospital open since he had been a
previous grad of DREXEL UNIVERSITY. In fact he had talked to 2 of the bidders
for the Hospital that wanted to KEEP IT OPEN as a running HOSPITAL and offered
funds from the DEFAULT JUDGEMENT FROM BRIAN SIMMS. Tom Wolf, the
mayor of Philadelphia, and Brian Simms all gave speeches that were covered by the
media, but everything Mr. Cutler did was censored. Mr. Cutler was prevented from
atteding hearings at the law office of Saul Ewing while reporters were allowed to
attend at the law office of Saul Ewing (he was asked to leave by security, and
Philadelphia Police). Mr. Cutler previously had contested the states order that they
could redistrict (USCA Case 18-1816) via a method that gave the court this power
even though it VIOLATED THE PENNSYLVANIA CONSTITUTION and
allowed it to be ammended in 10 days, <ref> htps:/;vww.brennancenter.org/legal-work/corman-v-torres
</ref><ref> nttps://redistricting, Ils.edu/files/PA%20corman%2020180724%20brief pdt </ref> and conceal the
MURDER of employee of the Federal Government with the aid of the [[FBI]]. Mr.
Cutler.a former ELECTED TAX COLLECTOR in November 2013 and has been

trying to clear his name based on PERJURED testimony 18 U.S.C. § 1001, bank

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robbery by others, insurance fraud on 17MAR2017 and a challenge to
OBAMACARE on 31DEC2013 (case 1:13-cv-2066 in Washington, DC). Mr. Cutler
was granted the right to challenge OBAMACARE by the USCA in Washington, DC
on 14AUG2015. Mr, Cutler has filed in many cases and has caught persons
obstructing justice like in case 20-5143 (USCA Washington, DC), Nancy Dunn
stated she discarded all the documents and OBSTRUCTED JUSTICE, Many cases
involve unopposed motions. Priority mail tracking number #9510 8066 2091 0225
1534 23. A document sent to the Supreme court on 30NOV2020 at 4:28 PM used
Express Mail, tracking number EJ50503425108S and vanished also, just like previous
documents in federal court. In case # ON 07DEC2020 JEFFREY CUTLER FILED
VIA NEXT DAY MAIL (EJ505033021US) A 315 PAGE MOTION FOR
RECONSIDERATION AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18
U.S. Code § 1519 - Destruction, alteration, or falsification of records) AND TO
COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY
JUDGEMENT IN CASE 1:17-cv-05228 (STATE OF NEW YORK v. DONALD J.
TRUMP AS A Intervenor Defendant. [[DACA CASE CITING EQUAL
TREATMENT UNDER THE LAW- first 59 pages of 315 attached in the
Addendum]] ON PAGE 67 IS EVIDENCE OF ELECTORAL FRAUD AND
DONALD TRUMP VICTORY IN PENNSYLVANIA. ORIGINALLY FILED AS
PAGE 169 (p320) USCA CASE 20-2936 (COUNTY OF BUTLER, et al. v. THOMAS

WOLF, et al.). Even though the document IN CASE 1:17-cv-05228 was recieved on

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08DEC2020 AT 10:56 AM, it has yet to be put on the DOCKET, despite multiple
claims by the clerks. Josh Shapiro (a SONDERKOMMANDO) is part of the case in
New York, and a MAIL FRAUD complaint has been submitted for his previous
actions and BASED ON A STORY ON PAGE B2 09DEC2020 PHILADELPHIA
INQUIRER, AG SHAPIRO IS GUILTY OF MAIL FRAUD BASED ON
RESPONSE AND FILINGS OF LETTER SENT JUNE 20, 2017 PAGE 59 OF A
315 PAGE MOTION FOR RECONSIDERATION. Since he is part of the
ELCTORAL COLLEGE in Pennsylvania, his vote for Joe Biden will also be a
CONSPIRACY to commit MAIL FRAUD with the other electors and is also
AIDING AND ABETTING in concealing the MURDER of a BLACK
FEDERAL EMPLOYEE (and they are violating 18 U.S.C. § 3 Accessory after the
Fact MURDER of Jonthan Luna). In a previous case in Pennsylvania Judge
Clarence C. Newcomer ruled that the Democratic campaign of William G. Stinson
had stolen the election from Bruce S. Marks in North Philadelphia's Second
Senatorial District through an elaborate fraud in which hundreds of residents were
encouraged to vote by absentee ballot, a form of MAIL FRAUD. On many of the
ballots, they used the names of people who were living in Puerto Rico or serving time
in prison, and in one case, the voter had been dead for some time.

"Substantial evidence was presented establishing massive absentee ballot fraud,
deception, intimidation, harassment and forgery," Judge Newcomer wrote in a

decision made public. <ref> htps:/vww.teagle.com/decision/1994892 19f348731759 </ref>,

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<ref> nttps:/www.nytimes.com/1994/02/19/us/vote-fraud-ruling-shifts-pennsylvania-senate.html </ref>, Even
though the judge is named as part of the complaint filed for case #1:20-cr-00165 for
MAIL FRAUD, someone else could be the real culprit. Judge Jeffrey Schmehl in
case 2:17-cv-00984 (Appeal 17-2709) specifically ruled that FAILURE TO SERVE
was a reason to deny ALL motions by Mr. Cutler. It was established that ALL
parties FAILED TO EVEN ATTEMPT TO SERVE ALL PARTIES. The same
judge has shown BIAS and MALICIOUS intent to violate EQUAL TREATMENT
under the law, a violation of the United States Constitution Ammend 5, in an effort
to violate Mr. Cutler’s right to redress of grievances and as a violation of 18 U.S.C. §
3 ScnaNsery after the Fact MURDER of Jonthan Luna (a BLACK employee of the
FEDERAL GOVERNMEMT). The same persons that MURDERED Luna based on
the injuries may be the same individuls in a Louisiana town of Baldwin that are
responsible for the death of Quawan "Bobby" Charles. A mail fraud complaint has
been filed against Judge Schmehl for his opinion in the case, for making
PERJURED STATEMENTS BY MAIL, (18 USC § 1001) and an effort to protect
parties that defaulted as well as both insurance companies and their lawyers making
false statements by mail in denying claims. Mr. Cutler believes he should be
included in this case because the Safehouse activity would lower the property values
all over Philadelphia and Pennsylvania and allow illegal drugs to become even more
readily available. This would set a standard for CHINA to attack the United States

even further. The DemoNcrats have pushed for the lowest common demoninater of

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activity and depavity to destroy this Republic, and destruction of GOD in favor of the
STATE. This WORLDWIDE attack based on payments and corruption this court
MUST deny them the chance to succeed and promote DRUG DENS in Philadelphia.
On 13MAY1985, then district attorney Ed Rendel allowed FIVE CHILDREN to be
CREMATED ALIVE, based on BOMBs furnished by the [[FBI]], as a form of
eviction. Midge Rendel has failed to RECUSE from 18-3693.

Statements by Jason Confair (Manhiem Township) and Robert DiDominicis
(Haverford Police) fail to serve Mr. Cutler in their latest filing (ECF 41 and ECF 50).
Mr. Cutler believes this constitutes a CONSPIRACY to conceal the murder of a
Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the
governments (both federal and state) and also the murder of five children on May 13,
1985 as a form of Eviction with the aid of persons in the FBI. Shaun Bridges a
secrect service ageny stole over $ 800,000 and was convicted of the crime in

NOV20 1 7<ref> https://www.justice.cov/opa/pr/former-secret-service-agent-sentenced-scheme-related-silk-road-

 

investigation </ref><ref> The murder of Sean Suiter was equally tainted

https://www.ydr.com/story/news/2020/07/1 O/investi gator-death-baltimore-city-police-detective-sean-suiter-charged-kidnapping-

extortion-case/5412238002/</ref>Mr. Cutler had stated that he believed that the MURDER of
JONATHAN LUNA was carried out by the KLU KLUX KLAN, and concealed
with help of persons of the FBI. Mr. Cutler based on his past jobs & training that the
COVID-19 pandemic is BIO-WARFARE against the world from CHINA and

CORRUPT OFFICIALS & CORRUPT MEDIA in violation of the FCPA and the

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Logan Act Stat. 613, 18 U.S.C. § 953 with China. Based on his previous contracts in
VALIDATION for MERCK , BAXTER, J&J etc. GMP training and the only 1036
cases and 10 deaths in TAIWAN as of 01LAPR2021, THAT THE TESTING

COMPONENTS MAY BE TAINTED and actually causing increase in COVID-19,

in the United States. This is based on PREVIOUS actions by CHINA.

<ref>https://www.govinfo.gov/content/pkg/CHRG-1 10hhrg53183/html/CHRG-1 10hhrg53183.htm </ref>
<ref> https://www.nytimes.com/2008/03/06/health/Oéheparin.html</ref>

<ref>https://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.html</ref>

<refhttps://en.wikipedia.org/wiki/2007_pet_food_recalls </ref>. Based on these facts, the current
non-binding mandate from the Dr. Levine and others in other STATES may be trying
to increase the number of cases, to HARM the UNITED STATES based on bribes
and TREASON by mostly DemoNcrats and some Republicans posing as good people
who are RHINO’s, when President Trump may have been the first DINO identified
since the MURDER of John Kennedy.

Every Public Health official that fails to recommend mass Pneumonia vaccinations

is complicit in the deaths in the United States. Although Thanksgiving was not a
religious holiday, many people say a prayer before the meal and therefore the
restrictions on Thanksgiving is a VIOLATION of the ESTABLISMENT
CLAUSE, also since it tries to limit prayer services in PA. , INTERFERENCE IN
INTERSTATE COMMERCE, and the order also violates EQUAL

PROTECTION since commuters are exempt in Pennsylvania. Forced testing

without a court order violates the FIRST Amendment, just like you cannot be forced

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to give a DNA sample. Mr. Cutler owns stock in Merck, which manufactures
PNEUMOVAX23, and the actions of Dr. Levine have depressed the value of the
company, and should be prosecuted just like Martha Stewart was charged and put in
prison, but also pushing sales at AMAZON. On 17JUL2020 TOM WOLF issued a
DECREE that LEBANON COUNTY cannot get about 12.8 million directed to the
county via the CARES act and VIOLATED 18 U.S.C. § 653, misuse of federal
funds and Equal Treatment Under the law (Ammend 14), since LANCASTER
COUNTY did the exact same thing. <ref>
https://pittsburgh.cbslocal.com/2020/07/22/lebanon-county-sues-governor-tom-wolf/ </ref> On
or about 14AUG2020 Tom WOLF reversed himself but dictated that Lebanon
County MUST use 2.8 million of the CARES act funding for MASK
ADVERTISING in direct support of Joe Biden’s campaign focus <ref>
https://papost.org/2020/08/14/reversing-course-wolf-releases-cares-act-funding-to-lebanon-
county/</ref>, which is five years since the USCA in Washington ruled Mr. Cutler
had the right to Defend the Establishment clause (case 14-5183) and 75 years since
VJ day of WWII. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC
have LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU
& COVID-19 <ref>ntips://www.futuremedicine.com/doi/10,2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO
THE COVID-19 that result in DEATH from pneumococcal disease <ref>

https://www.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots</ref>. KRISTEN

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WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. On
22JUN2020 a PETITION FOR IMMEDIATE INJUNTION PENDING APPEAL
was finally put online in case 20-1449 even though it was actually filed on
20MAY2020 at 4:10 PM.. The case is called the UNITED STATES OF AMERICA
v. JOESEPH JOHNSON. The office of the president responded to this by
21MAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020
demanding all places of worship be allowed to open. Employees of the federal
government and others have been involved in a criminal conspiracy to OBSTRUCT
JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn
obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov </ref>
Mr. Cutler had sent a 330 page document on 17JUL2020 but that document
vanished, just like the white bunny HARVEY, who is invisible in the picture of Mke
Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the
Philadelphia Inquirer. The USPS tacking number 9510 8141 4908 0199 0615 60 is
not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes
them alla party to the CONSPIRACY to INTERFERE IN INTERSTATE
COMMERCE. Mr. Cutler’s brother FRED had recently got a job as an USHER
for the PHILADELPHIA PHILLES for the 2020 season, but because of the
CONSPIRACY to close the states there will be no live viewing of games this
season. Mr. Cutler’s brother and approximately 69 MILLION other people

(approximate attendence of 2019 baseball season) have been denied the RIGHT of

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PURSUIT OF HAPPINESS as is part of the DECLARATION OF
INDEPENDENCE during the 2020 baseball season and today they allow only
8,000 people to attend in 2021. Thomas Wolf and Jim Kenney have allowed almost
unrestricted protest marches with POLICE escorts, but cancelled other parades and
events. Mr. Cutler had proposed an option to have games played in every city. As
stated by Judge James C. Dever III ruling 16MAY2020 there is NO PANDEMIC
EXZEMPTION IN THE CONSTITUTION. The news media in concert with
individuals in the DEMOCRATIC party have and some that pretend to be
REPUBLICANS have conspired to impact the UNITED STATES. Mr. Cutler filed a
complaint with the OIG of PBS/NPR on 10SEP2020 for 18 USC § 653-MISUSE OF
FEDERAL FUNDS FOR NOT REPORTING THIS STORY OR CASE. THIS IS
A CRIMINAL MATTER. The NEWS MEDIA AND OAGs ARE AIDING
AND ABETTING in concealing the MURDER of a BLACK FEDERAL
EMPLOYEE just like Cecily Aguilar, 22 has been charged (and they are violating
18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan Luna). The Employee
is Jonathan Luna <ref> https//en.wikipedia.org/wiki/fonathan Luna </ref> and Beranton
Whisenant <ref> https://en.wikipedia.org/wiki/Beranton Whisenant </ref> Justin Zemser and
Sean Suitter. The recent murder of Roy Den Hollander in New York for challenging
the news media (case 1:16-cv-06624) is just another crime concealed from the
public. That case is included by reference and joined to this one. The crime-fraud

exception was first recognized in the United States over one hundred years ago, and

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the policy behind it is well-defined. (The crime-fraud exception was first recognized
in the United States in Alexander v. U.S., 201 U.S. 117, 121 (1906).) The legal
community does not deem discussions concerning future wrongdoings, such as
fraud, that occur during an attorney-client communication worthy of protection. Id.
at 562-63. While the practice of law encourages full and frank communications
between the attorney and client, only communications concerning past wrongdoings
are protected. Mr. Cutler had previously been elected to Public Office as the TAX
COLLECTOR of East Lampeter Township, Lancaster County Pennsylvania, based
on an Election in November 2013. and took the Oath of OFFICE prior to his first
day on the job, on 06JAN2014. Mr. Cutler filed his first lawsuit on 31DEC2013
regrding violations of Religious Freedom as case number 1:13-cv-02066. He was
granted the right to challenge OBAMACARE in Appeal as case 14-5183 on
14AUG2015 for violations of the ESTABLSHMENT CLAUSE. Mr. Cutler was
removed from Office after 27 months based on PERJURED TETIMONY, and a
CONSPIRACY TO COMMIT MAIL FRAUD and BANK ROBBERY. In
Manhiem township Patricia Kabel (elected the same year as Mr. Cutler) was
harrased in a similar manner was equally harrased in court and the township spent

about 160,000 of taxpayer money to make her leave office. <ref>

https://lancasteronline.com/news/local/com monwealth-court-denies-manheim-township-school-districts-appeal-in-

long-running-tax-collector-case/article 127508cc-c2e5-11ea-864a-8b754638d23f.htm1 </ref>Based on these

actions Mr. Cutler investigated the parrties involved and tried to have a FEDERAL

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JURY TRIAL to clear his name. Since he found no law firm would represent him
based on contacts with the FBI or os enforcemnt. The lancaster county treasurer
was apponted to replace Mr. Cutler in the collection of taxes and never had a surety
bond until 18JUL2018 <ref> https://lancasteronline.com/news/local/lancaster-county-treasurer-without-
insurance-for-millions-in-tax-dollars/article_efSb90bc-8945-11e8-8ace-777126721cba.htm! </ref> No Prosection
of the treasurer was ever instituted, a clear violation of EQUAL TREATMENT
On 20MAY2020. Mr. Cutler won a motion for reconsideration in the court based
on EQUAL TREATMENT under the law in this court (case # 1:17-cv-01740
06NOV2017), but the judge failed to award any compensation as requested and the
clerks removed one defendant from the case an tampered with the document.
Pennsylvania has previously had a number notorious crimes of public employees
<ref> https://en.wikipedia.org/wiki/Kids_for_cash_scandal </ref> (including judges Mark Ciavarella &
Michael Conahan) convicted of federal crimes that resulted in convictions. Mr.
Cutler filed foran IMMEDIATE INJUNCTION PENDING APPEAL FOR
ALL juridictions of the United States, based on the ruling in case # 4:20-cv-00081
in the United States District Court for the Eastern Ditrict of North Carolina on
16MAY2020 by Judge James C. Dever II. Since Governor Roy Cooper has made
public statements that he does not intend to appeal, this is settled law. Mr. Cutler

had filed a Petition to DENY the Motion For Summary JUDGEMENT and to
consolidte related cases of religious discrimination by the government in case USCA

20-1805 on 14MAY2020 and the document and was not put online until

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20MAY2020. The document filed by Brian L. Calistri on May 8, 2020 contains
some perjured statements and since it was sent by mail constitues Mail Fraud and
Perjury (18 USC § 1001) and constitutes a CONSPIRACY to conceal the murder
of a Federal Employee found on 04DEC2003 (Jonathan Luna), by persons in the
governments (both federal and state) and also the murder of five children on May

13, 1985 as a form of Eviction with the aid of persons in the FBI, by furnishing the
bombs. Mr. Cutler had stated that he believed that the MURDER of JONATHAN
LUNA was carried out by the KLU KLUX KLAN, and concealed with help of the
FBI. The judge dismissed the case even though 5 parties defaulted and were
properly served. Based on ECF #5 in case # 2:17-cv-00984 by the late Thomas
O’Neill, Mr. Brian L.Calistri’s motion failed to notify the parties that have
defaulted in this case and therefore should have been DENIED. Mr. Cutler had
made a complaint by mail to the DA office in Lancaster County, Pennsylvania and
York, County Pennsylvania. Mr. Cutler had also filed a motion to intervene on
22SEP2019 in the case of Tami Levin in federal court case 2:19-cv-03149 (ECF 5)
which named DA Larry Krasner as a Defendant in the case. Mr. Cutler also filed a
response to the motion filed in oppoition on 25SEP2019. Even though the document
filed on 25SEP2019 contained evidence of OBSTRUCTION OF JUSTICE and
VIOLATIONS of EQUAL PROTECTION, Judge Eduardo C. Robreno issued an
order on 09OCT2019 which not only denied Mr. Cutler’s right to intervene but also

violated the United States Constitution Ammend 1, by making a THREAT BY

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MAIL if Mr. Cutler filed any additional motions in the case, limiting Mr. Cutler’s
right to PETITION THE GOVERNMENT FOR REDRESS OF
GRIEVIENCES. Tami Levin was replaced by Movita Johnson-Harrell who
pleaded guilty to the theft of approximtely half million dollars. Mr.Cutler had filed
objections to limit the power of the Tom Wolf to classify that religion as a NOT a
LIFE SUSTAINING activity in the Commonwealth of Pennsylvania. Mr. Cutler
filed his first lawsuit on 31DEC2013 regrding violations of Religious Freedom as
case number 1:13-cv-02066. He was granted the right to challenge OBAMACARE
in Appeal as case 14-5183 on 14AUG2015 for violations of the ESTABLSHMENT
CLAUSE. To this end Mr. Cutler filed documents in case 4:18-cv-00167-0 to
transfer it to Pennsylvania, but it was DENIED 21JAN2020. Mr. Cutler filed an
Appeal for the order on 04FEB2020 in the United States Court of Appeals Fifth
Circuit. When that was illegally ignored. Mr. Cutler filed documents in _
Pennsylvania. Mr. Cuttler had requested that district court case number 4:20-cv-
0064 in the United States District Court for the Northern District of Mississippi
[TEMPLE BAPTIST CHURCH et al. v. CITY OF GREENVLLE et al.], and
case number 1:20-cv-00323 in the United States District Court for the Western
District of Michigan [KIMBERLEY BEEMER et al. vy. GRETCHEN WHTMER
et al.] and case number 1:20-cv-01130 (Mr. Cutler had a typing error and
previously wrote 1:20-cv-01120) in the United States District Court for the District

of MARYLAND, BALTIMORE DIVISION [ANTIETAM BATTLEFIELD KOA

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et al. vy. LAWRENCE J. HOGAN et al.] are also cases that should be part of this
consolidation. All charges in each case should be included by reference for all civil
cases as if they are filed with this filing, for JUDICIAL EFFICIENCY. Judge
Catherine C. Blake of Maryland had one of the documents returned, obstructed
justice, and violated 18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan
Luna, on 03JUN2020 (birthday of Jefferson Davis after it was stamped in on
01JUN2020) after the office of AG in Maryland had responded to Mr. Cutler. Mr.
Cutler has previously called Mr. Wolf a member of the KLU KLUX KLAN in
documents related to this case in federal court. <ref>  https://forward.com/fast-
forward/444442/nj-man-accused-of-ordering-attacks-on-synagogues-released-from-jail/ </ref> Despite Mr.
Cutler filing a request with the state prior to the end of the WAIVER deadline that
ALL BUSINESSES in Pennsylvania be considered LIFE SUSTAINING , Mr.
Cutler has never heard back about his request until 12MAY2020. Mr. Wolf also
NOW has a NEW group to TRACK everyone in PENNSYLVANIA that has the
COVID-19 virus or other secrect police duties. Based on the case of the aids law
project tracking people that have one type of virus is unconstitutional, and exposing
their idenity is equally unconstitutional. The concept of EQUAL PROTECTION
UNDER the LAW is a cornerstone of both the United States Constitution and the
Commonwealth of Pennsylvnia. Based on the story about Mike Du Toit of South
A frica <ref> https://www.dailymail.co.uk/news/article-2478889/White-supremacist-Mike-du-Toit-plotted-kill-

Nelson-Mandela-jailed.htm! </ref> the BOEREMAG was just another name for KLU

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KLUX KLAN, Also Tom Wolf made statements that said that people cannot be
evicted until July yet in there are 6 pges of Legal Notices in the Inquirer on
O7MAY2020 that use WRIT OF EXECUTION to sieze property. Recently in
New York white police officers were beating a BLACK MAN for failing to practice
social distncing (neither police officer was wearing a mask), and they should be
prosecuted for violating the same law that they were alledgely enforcing. It is
notable that Wikipedia has SCRUBBED Mike Du Toit from their records
(effectively trying to rewrite history). Taiwan is about 100 miles from CHINA, yet
has less than ten deaths and 500 confirmed cases. In the Appeals for the Fifth
Circuit the Order from the United States Northern District of Texas dated January
16, 2020 denying Plaintiff's MOTION FOR RECONSIDERATION OF MOTION
TO CHANGE VENUE FOR CASE 4:18-cv-00167-0 FROM STATE OF TEXAS
TO PENNSYLVANIA AND COMBINE CASE WITH 5:19-cv-00834 , and the
motion denying Plaintiffs motion of December 30, 2019. The current order from
that court is in error since the USCA order of December 18, 2019, remanded the
case back to District Court and for further disposition and was unopposed and is still
unopposed. Mr. Cutler had previously filed a document by MAIL on March 1, 2019
but it was illegally discarded. He then filed on 07MAR2019 in person (Document
00514863727) , and it was put online March 7, 2019. The office of the clerk
decided it would be ignored. Mr. Cutler filed a NOTICE OF APPEAL on

27JAN2020, (Document 00515289904 International Holocaust Remembrance Day),

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and it was only put online when Mr. Cutler informed the Deputy Clerk Mary
Francis Yeager that she was violating Mr. Cutler’s civil rights. It was put online
January 29, 2020. A violation of EQUAL PROTECTION by employee of the
federal government, which treated the two documents differently and potentially hid
the document from the review of the judges considering an ENBANC review. Mr.
Cutler subsequently filed a PETITION FOR ENBANC HEARING AND TO
TRANSFER RESIDUAL CASE TO PENNSYLVANIA AND COMBINE WITH
CASE 5:19-cv-00834, this document was put online as document number
00515298284 on 04FEB2020, the same date it was filed in court. In the case both
Deputy Clerk Mary Francis Yeager_ and Deputy Clerk Roeshawn Johnson
denied the petition. This violated the United States Constitution Ammend | and 5.
It also also violates Mr. Cutler’s rights under the Sixth Amendment of the
Constitution. Mr. Cutler then on 04MAR2020 filed a 380 page document in this
case (2:19-cr-00367). Within 24 hours of the filing Mr. Cutler got a threat by phone
from an unidentified individual about the filing. On 06MAR2020 Mr. Cutler filed a
nine page correction to the document previously filed. When the document was
downloaded from the federal pacer system it was devoid of any markings. On
12MAR2020 Mr. Cutler filed a MOTION TO VACATE ORDER DENYING
ORDER OF RECONSIDERATION — ON 04MAR2020 FOR IMPROPER
SERVICE — BRADY VIOLATION AND COMBINE WITH CASE NUMBER

2:20-cv-00735 (GRANT v. PHILADELPHIA) AND 4:18-cv-00167-0 FROM THE

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NORTHERN DISTRICT OF TEXAS AND DEFAULT JUDGEMENT. At that
time Mr. Cutler used the terminal in the Federal Courthouse to view some dockets.
In case 2:19-cr-00367 Mr. Cutler noticed the copy of the document (ECF 99) NOW
was properly marked. Based on this Mr. Cutler printed a second copy of the
document. Based on Elouise Pepion Corbel et al. v. Gale v. Norton, et al. (03-5262,
03-5314). Mr. Cutler requested the district court cases be consolidated in
Pennsylvania and deliberations allowed on an expedited basis since they both
involve related issues and the Supreme Court previously has indicated they will not

consider the case this term, even though oral arguments were already made. This

court had allowed the House of Representatives to be an Intervenor. The petitioner,

Jeffrey Cutler, acting pro se, respectfully previously identified that the speaker of the
house of representaives, in her official capacity, as the speaker of the House of
Representatives (and former resident of Baltimore, Maryland).

This is the same city that Johnathan Luna on 03DEC2003 (a black federal
employee) left his office at approximately 11 PM and was found dead the next
morning (04DEC2003)in Lancaster County, Pennsylvania with 36 stab wounds,
neck back and genitals, but the cause of death was drowning as per the Medical
Examiners. The FBI tried to force two Medical Examiners to say the MURDER
was a Suicide. Sean Suiter a Baltimore Police officer died from a MURDER that
was later classified a suicide during a special arrest, | day before he was to testify.

Other individuals have died unexpectedly, possibly of murder including Beranton

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Whisenant Jr. (also a federal prosecuter), and Kobe Bryant. Mr. Cutler’s cousin
Robert Needle, (who died unexpectenly in May 2017) may have previously contacted
Mr. Beranton Whisenant, who died on or about 25MAY2017. The medical records
of Jonathan Luna have finally resurfaced and are currently trying to be
sealed/hidden by the current DA in Lancaster County. Mr. Cutler had stated in

public documents that he believes Mr. Luna was murdered by the KLU KLUX
KLAN. Mr. Cutler also now believes that THOMAS C. WALES was also

MURDERED by the KLU KLUX KLAN 110CT2001.<ref>
httos://www.fox43.com/article/news/jonathan-luna-murder-mystery-2003/521-2229b272-9355-4308-8163-

506440862577 </ref><ref>

httos://lancasteronline.com/news/local/Inp-county-clash-over-newly-discovered-records-in-jonathan-
luna/article_01ba656a-483b-1 lea-846ed-43533b224839.htm!| </ref><ref>

https://lancasteronline.com/news/local/lancaster-county-judqe-gives-prosecutor-days-to-say-why-
jonathan/article 4646005a86-49ec- 1 lea-8d57-37ffalb%ed27.html </ref><ref>

httos://www.waal.com/article/newly-discovered-documents-are-related-to-investigation-into-death-of-
federal-prosecutor-jonathan-luna/30783745 </ref><ref>

httos://Avww. pennlive.com/news/2020/02/ re-discovery-of-records-on-mysterious-death-of-federal-prosecutor-
prompts-fight-between-da-news-media.html </ref><ref>

httos://www.youtube.com/watch?v=cLAIdUHDwjg </ref> <ref>
httos://www.nbcnews.com/news/us-news/disgraced-baltimore-police-officer-says-detective-who-was-killed-
testifying-n844831

</ ref> <ref> httos://www.enn.com/2018/08/29/us/baltimore-police-detective-sean-suiter-
svicide/index.html </ref>

Nancy Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli
Jr.) stated “[N]o one would be hurt and the greater justice would be attained” and
violated (18 USC § 1001) on 03JAN2019 on page 24 of the filing that was made in

case 4:18-cv-00167-0, a significant federal crime. It is interesting that the law firm of

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DLA Piper (Kamala Harris’ husband works for this firm and was part of the case
against Mr. Cutler and also filed a motion on this same date against him because he
dared to continue to challenge the ACA . During a speech at the National
Association of Counties’ annual Legislative Conference on 9 March 2010, in
Washington D.C. <ref> httos://www.youtube.com/watch?v=QV7dDSgba@o </ref>

she stated “We have to pass the bill to find out what is in it”. The petitioner “found
out what was in it” and filed a Pro se lawsuit 31DEC2013 in Wasington, DC case
1:13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari
for the Supreme Court of the United States (15-632) and inserted that same writ in
United States Court of Appeals case 17-2709, page 314A, via district court case
number 2:17-cv-00984 page 10. Since the individual mandate of the Affordable
Care Act is now null and void based on the rulling of the USCA and the other
provisons of the bill should also be eliminated to preserve the constitution. Mr.
Cutler paid the docketing fee for the appeal in case 14-1449 to preserve the right of
appeal of Mr. Johnson. His lawyer previously made a false statement to the court
in his request to withdraw, based on the documents filed by Mr. Johnson (ECF
100-103) a significant crime (18 USC § 1001). The current orders of Tom Wolf in
Pennsylvania violate GMP procedures and allows the commonwealth to track
every individual on the Pennsylvania Turnpike. (See history of IBP recalls of beef

procedures that using a delivery ADDS RISK TO EXPOSING EVERYONE.) Mr.

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Cutler had worked for multiple pharmaceutical and food compnaies including,
HEINZ, CAMPBELLS, MERCK, GSK, BAXTER and others. Mr. Cutler was
previously in charge of coordinating the Y2K and putting together the contingency
plan for MERCK Inc., West Point site. It is Mr. Cutler’s belief COVID-19 is
actually an excuse for MASS GENOCIDE against individuals that are deemed
undesirable including Jewish and black Individuals and to discontinue pensions via
MURDER (see <ref> htips://en.wikipedia.org/wiki/Joyce Gilchrist </ref>. There is NOW
PROOF THIS IS TRUE, since the PEOPLES REPUBLIC OF CHINA commited
MAIL FRAUD when served documents at their EMABSSY on Washington, DC.,
thus CONFIRMING CHINA IS RESPONSIBLE FOR THE DEATHS OF 3
MILLION PEOPLE. It is very easy to Bribe, coerce or pay individuals to bear
false witness against another individual and violate THALL SHALL NOT BEAR
FALSE WITNESS and 18 USC § 1001. The orders Thomas Wolf and other leaders
have issued effectively allows the governments in the United States to discontinue
religion in and in the State of Pennsylvania, by a member of the KLU KLUX
KLAN or related organization. Other members of the KLU KLUX KLAN in the
United States and the World, are all organized to take on the HOAX. This was
previously called Agenda 21. As of 16MAR2020 Canada was still allowing flights
from CHINA and those persons could be carrying hazardous bio material simply
enter the United States from Canada. When Mr. Cutler was working for Merck as a

contractor some individuals were caught stealing trade secrects by security at the

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West Point site. It has been known China has been effectively using live people for
transplants for years. Mr. Ellyahoo has stated the word in HUNGARY for SIN is
pronounced VIRUS. The closing of all CASINOS in the STATE is to get 100% of
all gambling revenue, to have a total monopoly on all sources of payment organized
for a complete Klu Klux Klan takeover. Jeffrey Smiles has told Jeffrey Cutler that
the POST OFFICE near the Allentown Federal Courthouse contains NAZI insigna in
the tile work in the building (supreme court case # 19-8538 ), and there is a 7 acre
site in Southern Lancaster county that is owned by the Klu Klux Klan. Mr. Smiles
has sent a picture via text to Mr. Cutler’s of insigna is actually in the Post office tile
across from the courthouse. This all may have a connection of Joe Biden to China and
the transfer of technology to them that has violated the world’s civil rights, except
Taiwan with less than 10 deaths as of today. Joe Biden an Bill Cosby are named in
the same federal lawsuit supposedly about stolen art (USCA 17-1770). Also Based
on case # 19-cv-2407 in the Southern District of California, by Cyrus A. Parsa which
should be included by reference these claims are true and correct and the book

Bloody Harvest <ref> https://Awww.bookcdlepository.com/Bloody-Harvest-David-Matas/9780980887976
</ref>

Based on Mr. Cutler’s experience, Engineering Experience, and the case of Joyce
Gilchrist <ref> https://en.wikipedia.org/wiki/Joyce Gilchrist </ref> persons in Federal
government may have violated the Logan Act Stat. 613, 18 U.S.C. § 953 with

China. Since Mr. Wolf’s order is illegal, all the Insurance companies have

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conspired to not pay BUSINESS INTERUPTION CLAIMS based on the order of
Tom Wolf, just like 2 different insurance companies failed to compensate Mr.
Cutler for his loss (Erie and State Farm Insurance) and conspired to Commit Mail
Fraud even though Josh Shapiro was served as part of the lawsuit naming the PA
insurance department. Mr. Wolf’s order also violates the Federal Voting law Voting
Rights Act of 1965, which prohibits any jurisdiction from implementing a "voting
qualification or prerequisite to voting, or standard, practice, or procedure ... in a
manner which results in a denial or abridgement of the right ... to vote on account
of race," color, or language minority status. Based on the recent unsealed pleadings
of Judge Domenick Demuro (press release 20-472) , voter fraud has been in
Pennslvania a long time. The use of ABSENTEE ballots that are collected by
individuals denies the minor protection of MAIL FRAUD, usually asociated with
this type of voting. Mr. Cutler has attached a handicap placard P15703J renewal that
also may be voter fraud in Philadelphia and Mail Fraud. Since that person never
lived at that adress. Mr. Cutler had formally notified the court of voter fraud in
Pennsylvania as of 13DEC2016 in case # 2:16-cv-06287. The DOJ announced the
guilty plea of a judge of elections in Philadelphia 21MAY2020, the day after Mr
Cutler filed an Injunction Pending Appeal in case 20-1449, that prohibits ANY
JURISDICTION in the UNITED STATES from specifyin HOW TO PRAY. Mr.
Cutler also notifies this court that the failure of the Dams in the state of

Michigan may be the result of a deliberate act to prevent and obscure the lawsuit of

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governor Gretchen Witmer’s unlawful act from being persued in federal court case
1:20-cv-00323. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC have
LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU &
COVID-19 <ref>https://www.futuremedicine,com/doi/10.2217/fea-2020-0082</ref>. They are called
PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO THE
COVID-19 that result in DEATH from pneumococcal disease <ref>
https://vww.diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots </ref>. KRISTEN
WELKER’S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. Based
on Tigers in the Bronx zoo and Goririllas in San Diego zoo being diagnosed with
COVID-19, as well as one million mink in the Netherlands there is ZERO

evidence that the tigers, Goririllas ever failed to practice social distancing, because
the person would be called LUNCH. HIV has NO VACCINE. This
INVALIDATES ALL THE MODELS being used to justify the restrictions. Mr.
Cutler based on standard engineering concepts the death of Philadelphi Police
Lieutenant James Walker, Seth Rich, Bre Payton, Edgar Rosenberg, Lorna Breen,
Ellen Greenberg, and others may be MURDERS of the KLU KLUX KLAN, and 1-
2% of all law enforcement in the United States may be members or share their views.
Also some elected Officials and persons in the military all branches. An 8 year old
was raped in Bryant elementary school and his parents were denied the ability to sue

because they waited six months. Based on this the charges against William Henry

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Cosby should be vacated. George Soros and other persons similarly situated may be
trying to destroy the United States economy and the Dollar by bad sharing of
information, ort like on 25MAY1979 American Airlines Flight 191 DC-10,

crashed based on not sharing data. Mr. Cutler was trying to fly to Philadelphia that
day from Chicago. My friend Daria from Russia, stated that collapse of the dollar
was a stated goal of persons. Even in case, 1:20-cv-01130 that the document legally
filed is RETURNED for failing to file a motion to intervene PRIOR to filing the
actual document, violating equal protection under the law and the United States
Constitution Ammend 5 and Ammend 1 by denying the ability for redress of
grievances. Also based on conflicting death reports, declaring a MURDER a
SUICIDE is one way to conceal MURDERS by POLICE or ELECETED officials
with the aid of News Outlets. Previous corruption in the United States based out of
Illinois called project GREYLORD was a 3.5 year activity. Mr. Cutler lived in
Illinois during some of this time frame and the joke voting saying was VOTE
EARLY AND OFTEN and JUST BECAUSE YOU ARE DEAD IS NO REASON
NOT TO VOTE <ref> httys://en.wikipedia.org/viki/Operation Greylord </ref>

<ref> https:/Avww.chicagotribune.com/nation-world/chi-chicagodays-greylord-story-story.html </ref> <ref>

https://www.latimes.com/archives/la-xpm-1987-12-10-mn-28034-story.html </ref> <ref>
hitps://fbistudies.com/wp-content/uploads/2017/04/FBI-Grapevine-Operation-Greylord-Hake.pdf </ref>

It was RECENTLY announced that Rabbi Yisroel Goldstein was charged,
SENTENCED , while the individual that MURDRED Lori Gilbert-Kaye is still

awaiting trial (John Timothy Earnest) and Jeffrey Lyons is out on bail awaiting to

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start his SENTENCE for a 55 MILLION DOLLR FRAUD <ref>

httos://www.nbcsandiego.com/news/local/rabbi-shot-in-poway-synanoque-attack-pleads-quilty-
to-tax-fraud-docs/2365089/ </ref> <ref>
httos://en.wikipedia.ora/wiki/Poway_synagoque shooting </ref>

CHINA BREAKING THE AGREEMENT WITH HONG KONG IN 23 YEARS
MEANS THEY WILL BREAK ANY AGREEMENT INCLUDING THE USE OF
BIO-WARFARE. The attacks on the USS McCain, Fitzgerald, Bonhomme
Richard and effects in TAIWAN are evidence of cooridinated attacks on the
United States which are being hidden from the general population like the civil
case against Nancy Pelosi. China has been bribing CIA employees and others for

years. There is no reason what Joe Biden did should be ignored. <ref>

https://thehill.com/policy/national-security/5 12385-former-cia-officer-charged-with-selling-us-secrets-to-china
</ref> <ref> https://www.bbc.com/news/world-us-canada-48319058 </ref>

<ref> https://www.bbe.com/news/world-us-canada-50520636 </ref> <ref>
httos://www.nytimes.com/2019/09/24/us/china-intelligence-sentence.html_ </ref>

The Story <ref> https://www.mercurynews.com/2017/06/14/james-hodgkinson-shooting-
facebook-republicans/ </ref>

James Hodgkinson may have had KKK support, because he was using SKS rifle
with FIXED 10 ROUND MAGAZINE and FBI COVERED FOR OTHER
SHOOTERS BEHIND HIM!!! The rifle James Hodgkinson was using required
loading with STRIPPER CLIPS!! It uses the SAME 7.62 round as the AK-47
VARIANT. HE fired 200 rounds in 2 minutes while WALKING AND

SHOOTING and it was COVERED UP!! NBC BROADCAST ON THE

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BOTTOM SCROOL CAPTION AT THE TIME and stated by Senator RAND
PAUL!!! The NEWS MEDIA IS AIDING AND ABETTING in concealing the
MURDER of a BLACK FEDERAL EMPLOYEE just like Cecily Aguilar, 22 has
been charged. The Employee is Jonathan Luna <ref>
hitps://en.wikipedia.org/wiki/Jonathan_Luna </ref> and Beranton Whisenant <ref>
httos://en.wikipedia.org/wiki/Beranton_Whisenant </ref>, Sean Suiter from the BPD .
<ref> hittps://blackthen.com/black-mysteries-unsolved-death-jonathan-luna/ <ref>

For Years there has appers to have been a KLU KLUX KLAN serial rapist in
East Lampeter Township, Pennsylvania. This included Lisa Michelle Lambert and
possibly currently Linda Stoltzfoos and previous possible MURDER of JERRY

MURPHY of WI105 and covered up by the MEDICAL EXAMINER <ref>
httos://lancasteronline.com/news/local/da-maintains-autopsy-in-luna-murder-mystery-should-
remain-sealed/article_ ca83b358-céde-1]]1eda-a3eb-67597e2be2cf.html

</ref> <ref> https://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.odf </ref>
East

Lampeter previous LAWSUITS, theft of PROPERTY <ref>

https://law.justia.com/cases/federal/district-courts/FSupp2/17/394/2488681/ </ref> $ 540,000
theft

of LIFE savings and sent to PRISON 2008 case Levi Lapp Stoltfoos (MAYBE

RELIGIOUS FREEDOM) <ref> https://dockets.justia.com/docket/circuit-courts/ca3/17-
Ii

</ref> On 18SEP2020 Justice Ruth Bader Ginsburg died on Rosh Hashanah, the
Jewish New Year. Also on September 18, 2020 at 2:48 pm Jeffrey Cutler filed a 324

page MOTION TO RECONSIDER MOTION TO INTERVENE AND COMBINE

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CASES FOR JUDICIAL EFFICIENCY AND OBSTRUCTION OF JUSTICE AND
CONSPIRACY TO COMMIT MAIL FRAUD AND OTHER CRIMES AND
SUMMARY JUDGEMENT in case #1:20-cr-00165, United States v. Kevin
Clinesmith in Washington DC. The previous document was destroyed by the clerk or
Judge in the case. Watch https://www.youtube.com/watch?v=mgCle8F_zUk for more

information and read comments sorted newest first. Also see <ref>

httos://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-

human-services/ </ref> and <ref> https://www.brennancenter.org/legal-work/corman-v-torres
</ref><ref> https://redistricting,lls.edu/files/PA%20corman%2020 180724%20brief.pdf </ref><ref>
hitos://www.pacermonitor.com/public/case/27231978/CUTLER _v PELOSI! et al </ref> As an Official
Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the
actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted
effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se
candidate against Thomas Wolf and had an advertisement in the METRO paper on
240CT2018 page 15 :titled “SAVE BILL COSBY”. The government cannot tell you
how to PRAY enforced by RELIGIOUS POLICE!!! The DEMONCRATS are using
FEAR and JUNK science to try and bring back CONCENTRATION CAMPS just
like EXECUTIVE ORDER 9066 by FDR. The ORDER was never declared
UNCONSTITUTIONAL, just SUSPENDED, revoked by Ford when he was

president. On 04SEP2020 at 10:14 PM a [[FEC]] <ref>

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httos://en.wikipedia.org/wiki/Federal_ Election Commission#First Amendment issues </ref>
complaint

was filed against [[Youtube]] for illegal edits of comments as an "IN KIND"
contribution to [[Joe Biden]], [[Nancy Pelosi]], and MISUSE OF FEDERAL FUNDS
(18 U.S.C. § 653) involving [[NPR]] and [[PBS]] networks and also AIDING AND
ABETTING in concealing the MURDER of [[Jonathan Luna]] <ref>
https://en.wikipedia.org/wiki/Jonathan Luna </ref> and [[Beranton Whisenant]] <ref>

httos://en.wikipedia.org/wiki/Beranton_Whisenant </ref>. This is documented in federal
court

case 5:19-cv-00834 filed 26FEB2019 in [[Philadelphia]] against [[Nancy Pelosi]]
called (CUTLER v. PELOSI, et al.) and later against [[Kevin Clinesmith]]. On
20MAY2020 at 4:10 PM Jeffrey Cutler filed an INJUNCTION PENDING appeal in
USCA case 20-1449 to REQUIRE EVERY JURISDICTION in the UNITED
STATES unrestricted PRAYER! On 12JAN2021 Jeffrey Cutler filed a MAIL
FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021 filed a
MAIL FRAUD complaint against TWITTER and J ack Dorsey. The MAIL FRAUD
complaints are based on being an INVESTOR in both companies and the ANNUAL
REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler and other
investors and statements in those reports.

On 11JAN2021 J effrey Cutler FILED A MAIL FRAUD COMPLAINT AGAINST
TWITTER for statements in their ANNUAL REPORT that is MAILED. TWITTER

CLAIMS THAT THEY DO GOOD AND DECIDED THAT DONALD TRUMP'S

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ACCOUNT IS BANNED FOR LIFE EVEN THOUGH THERE IS TIME
STAMPED PROOF OF ELECTORAL FRAUD IN PENNSYLVANIA,
ORIGINALLY FILED IN FEDERAL COURT 200CT2020 PAGE 169 OF CASE

20-2936 PAGE 9 OF THE LINK BELOW !!<ref>

https://www.courtlistener.com/recap/gov.uscourts.pamd. 127057/gov.uscourts.pamd. 127057.181.0.pdf </ref>

THE DROP BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY
RECEIPT AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO
THE CONTRARY. It is almost comical that AMAZON helped RIG VOTING with
expanded MAIL IN BALLOTS, in the election, AMAZON is REQUESTING IN
PERSON voting in a UNION selection vote in COURT DOCUMENTS. ASHLI
BABBITT WAS ACTING AS A CITIZEN JOURNALIST AND SHE HEARD
THE CONSPIRACY WITH KKK/ANTIFA around her with the POLICE, and
THAT IS WHY SHE WAS MURDERED!! EVEN IN CHINA THEY

JUST PUT CITIZEN JOURNALISTS IN PRISON, NOT MURDER THEM, PER
STORY PAGE A3 PHILADELPHIA INQUIRER 29DEC2020 BY LILY KUO.
PER USCA CASE 17-1770 JOE BIDEN WAS PART OF A GROUP HELPING TO
SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL
COSBY FOUND OUT. AMAZON FOUNDER JEFFREY BEZOS ENDED
PARLER and WILLFULLY DESTROYED PARLER AND THEIR LAWSUIT
2:21-cv-00031 in the Western District of Washington should be fully compensated.

Nancy Pelosi led a vote to IMPEACH DONALD J. TRUMP a second time on

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13JAN2021 allowing for no FACTS or EVIDENCE to be provided, and she
conspired with others to insite violence on multple occaisions. Mr. Cutler filed

a 231 page document that is time stamped 2021 JAN 13 P 4:10 in case 20-1422 (the
first 69 pages are attached in the addendum) in the USCA third circuit in
Philadelphia and on page 62 of that document is a letter

from Nancy Pelosi to Ted Wheeler (the mayor of Portland, Oregon) conspiring

to INSITE VIOLENCE AND BLAME TRUMB, with the aid of the media to aid
China engage in biological war fare against the world and weaken the United States.
Despite the RUSH to IMPEACH TRUMP A SECOND TIME , THE ARTICLES
of IMPEACMENT have been sent to the SENATE as of this date. Chuck
Schummer had said on the floor of the Senate it was really for inciting an
ERECTION. Based on the email with an attachment of a letter from Nancy Pelosi
on 1OJAN2021 at 5:33 PM, Jeffrey Cutler got an email with a letter to Portland
Mayor by Nancy Pelosi to Ted Wheeler dated August 27, 2020. Jeffrey Cutler

filed it on page 62 of the document he filed in USCA case 20-1422 on 13JAN2021
AT 4:10 PM and it also VANISHED, copies were sent to over 200 news outlets. The
Police have also tried to intimidate Mr. Cutler by trying to pick him up for traffic
violations all based on the fruit of the poisonus tree. This case should be moved to
FEDERAL COURT and Combined with this case for Judicial Efficiency. Persons

from stores such as Wegmans, the police in Marple Townsip, and [[FBI]] in

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Newtown Square, PA may all be acting in a CONSPIRACY to track Mr. Cutler and
incarcerate him for identifying the previous conspiracy to hide the MURDER of
Jonathan Luna 04DEC1993 and TRY TO TERMINATE THE LIFE OF MR.
CUTLER WITH TRAFFIC CITATION C6598201-1. Vehicle registration was
reported as postponed.

<ref> https://www.pennlive.com/news/2020/05/penndot-extends-deadlines-for-
vehicle-registrations-inspections.html </ref>

and vehicle renewal registration was NOT received by mail. Since this case is proof
the BIG LIE is the TRUTH Mr. Cutler also requests that case 1:21-cv-00213 and
1:21-cv-0040 from the District of Columbia be combined with this case.

Thus Pursuant to Title 18, United States, Code § 4, Plaintiff, Mr. Jeffrey

Cutler, formally notifies the court of ongoing criminal acts and conspiracy
involved with this civil rights action and requests the court to notify the DOJ
Office immediately, and any other criminal justice authorities the court deems
necessary, to effect and insure the prompt investigation and prosecution of crimes
involved with this case which includes mail Fraud (18 U.S. Code § 1341), the
murder of a federal employee (18 U.S. Code § 1114), seditious conspiracy

(18 U.S. Code § 2184), activiies affecting the armed forces (18 U.S. Code §
2187), Obstruction of Justice, Bank Ruptcy Fraud in case number 19-11466
Philadelphia Accademic Health System and Title 18, Section 871. The

civil rights action is case # 5:19-cv-00834, case # 1:20-cv-01130 District Court

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Maryland, and 1:17-cv-05228 in the Eastern District of New York (The State of New
York. et al. v. DONALD J. TRUMP, et al.). The courts have affirmed, it must
“afford a liberal reading to a complaint filed by a pro se plaintiff,” particularly

when the plaintiff has no formal legal training or education. Klayman v.

Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also Erickson v. Pardus,

551 U.S. 89, 94 (2007) (“A document filed pro se is to be liberally construed, and a
pro se complaint, however inartfully pleaded, must be held to less stringent
standards than formal pleadings drafted by lawyers.’’) (internal quotations and
citations omitted). The current election for president may be just like 2 Star Trek

Episodes combined. <ref> https://en. wikipedia.ore/wiki/Bread_ and Circuses (Star Trek: The Original Series)

</ref> and <ref> https://en.wikipedia.ora/wiki/What Are Little Girls Made of%3F_</ref> and like
the movie inate https://en.wikipedia.org/wiki/Moon_over Parador </ref> or the original
unpublished short story entitled "Caviar for His Excellency" by Charles G. Booth
there may be an actor portraying Joe Biden right now. As per Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 589 (2007) the court must accept the foregoing information
as true. In the Addendum is 67 pages of the document filed in case 19-1842 and
proof Josh Shpiro committed mail FRAUD. THE CLERK's OFFICE OF THE
UNITED STATES COURT OF APPEALS IN PHILADELPHIA IN A
CONSPIRACY WITH OTHERS INCLUDING JIM KENNEY AND THE
DemoNcratic PARTY, violated 18 U.S. Code § 872 - Extortion by officers or

employees of the United States, AND AIDING AND ABETTONG CONCEALING

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THE MURDERS OF TWO BLACK FEDERAL EMPLOYEES (violating 18 U.S.C.
§ 3 Accessory after the Fact MURDER) AUSA JONATHAN LUNA & AUSA
BERANTON WHISENANT PLUS BANKRUPTCY FRAUD 19-11466 (Bankruptcy
of PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN
HOSPITAL) AND MISSING DOCUMENTS CASE 19-1842 FILED 06APR2021
AT 2:34 PM. The murder of Mr.Wright was Wrong, as well as the Murder of
David Kassik by police woman Lisa Mearkle in 2015 and violated his civil
rights<ref> htps://news.yahoo.com/princeton-university-policy-political-protests-103048931L himl </ref>

Maxine Waters and the MEDIA networks are trying to incite riots so that Marshal
LAW can be declared and all firearms siezed.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests

the MOTION TO COMBINE CASES and moved to FEDERAL COURT in Missouri
case # 1:20-cv-00099 be granted as well as SUMMARY JUDGEMENT, this is
effectively a CHANGE IN VENUE. All votes via DROP BOXES BE STRICKEN
in Pennsylvania and the count be recalculated, and based on Marks v. Stinson,

Donald J. Trump be declared the winner <ref> hups://www.leagle.com/decision/1994892 191348731759

</ref> of the Presidential vote in Pennslvania, and by reference North Carolina,
Wisconsin, Nevada and Arizona.

Mr. Cutler has never met Donald J. Trump, and was not paid or compensated in any
way for this action. Mr. Cutler did give Mike Pemce a TSHIRT prior to him getting

elected Vice President at the hotel previously known as the Host Farm, but has since

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been renamed. Mr. Cutler gave a similar TSHIRT to both Senators from Pennsylvania
Judge Stickman wrote in the case “but even in an emergency, the authority

of government is not unfettered” in the case of County of Butler v Wolf. This court
should also declare the entire Affordable Care Act (Obamacare) law and the
executive order signed in 1942 as Executive Order 9066 by FDR
UNCONSTITUTIONAL, during an immediate ENBANC review of this case when
combined with the writ from case 15-632, and the writ filed by the WHITE HOUSE

as 19-840, 19-1019 also have the government CANNOT SPECIFY HOW TO

 

 

PRAY enforced by Religious POLICE, either LOCAL, STATE, or FEDERAL.
The MURDER of a BLACK man and 15 year old boy should NOT be Considered
MOOT as per order from the Judge ECF 203 and the clerk. This USCA case
number 1:17-cv-05228, 20-3371, 20-1805, 20-1449, 20-1422, 19-1622, 18-3693,
case number 20-5143 in the USCA DC CIRCUIT SHOULD, 2:21-cv-00031
Northern District of Washington, plus this case and 21-4001 ALL BE
COMBINED FOR JUDICIAL EFFICIENCY and “GOOD TROUBLE” as per John
Lewis and stop 5171 years of persecution of Jewish Individuals. Not GETTING
EXPOSED IN A LIE IS NOT THE SAME AS TELLING THE TRUTH!!!

ASHLI BABBITT MURDER WAS THE START OF KRISTALNAHT in the
UNITED STATES <ref> https://en.wikipedia.org/wiki/Night_of the Long Knives </ref>”

YOU CAN DESTROY THE EVIDENCE, BUT YOU CANNOT DESTROY THE

TRUTH. At least Four different federal courts have conspired to deny Mr. Cutler the

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right to Petition the government for redress of grievances as part of the FIRST
AMENDMENT, in conjunction with the media, elected and non-elected officials
Based on payments inside and outside the United States. IMPEACHING ANYONE
should demand the FULL ATTENTION OF THE COURTS AND THE
CONSTITUTION, and there should bb NO SHORTCUTS ALLOWED, if the
chief judge of the Supreme Court or a Judge of the Supreme court does not preside

in his place then the entire activity is fraud on the court. Just because the Biden
Election has not been exposed as a LIE, IT IS NOT THE SAME AS TELLING
THE TRUTH (Para Phrase from 3 Days of the Condor). YOU CAN DESTROY

THE EVIDENCE, BUT YOU CANNOT DESTROY THE TRUTH:!

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Respectfully submitted,

DATE: 19APR2021 /s/ Jeffrey Cutler

Jeffrey Cutler, pro se
215-872-5715 (phone)

eltaxcollector@gmail.com

P.O. Box 2806
York, PA 17405

CERTIFICATE OF SERVICE

I hereby certify that on April 19, 2021, I filed the
foregoing with the Clerk of the EASTERN
DISTRICT OF PENNSYLVANIA by Mail or in
person. Participants in the case who are registered
CM/ECF users will be served by the appellate
CM/ECF system. I further certify that all of the
other participants or their lawyers in this case are
registered CM/ECF users except as follows and they
are served by mail or email .

/s/ Jeffrey Cutler
Jeffrey Cutler

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